  Case 22-19552-CMG          Doc 38     Filed 07/12/23 Entered 07/12/23 10:12:36                Desc Main
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   Phillip Raymond
   McCalla Raymer Leibert Pierce, LLC
   420 Lexington Ave, RM 840
   New York, NY 10170                                                    Order Filed on July 12, 2023
   Telephone: 732-692-6872                                               by Clerk
                                                                         U.S. Bankruptcy Court
   NJ_ECF_Notices@McCalla.com                                            District of New Jersey
   Attorneys for Movant

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY

   In re:                                            Chapter 13

   Leslie E. Alicea                                  Case No. 22-19552-CMG
   aka Leslie E Fisher
                                                     Judge: Christine M. Gravelle
                                         Debtor.

               ORDER VACATING AUTOMATIC STAY AND CO-DEBTOR STAY

            The relief set forth on the following pages, number two (2) through two (2) is hereby

                                               ORDERED




DATED: July 12, 2023
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Debtor:               Leslie E Alicea
Case No.:             22-19552-CMG
Caption of Order:     ORDER VACATING AUTOMATIC STAY AND CO-DEBTOR
STAY

       THIS MATTER having been opened to the Court upon the motion of NewRez LLC dba
Shellpoint Mortgage Servicing ("Movant"), for an order vacating the automatic stay in effect
pursuant to 11 U.S.C. § 362(a) and co-debtor stay in effect pursuant to 11 U.S.C. § 1301, and for
good cause shown for the entry of this Order, it is hereby ordered that:


   1. The automatic stay be and co-debtor stay are hereby vacated under 11 U.S.C. § 362(d) to
       permit Movant, to institute or resume a mortgage foreclosure action in the Superior Court
       of New Jersey in order to pursue its rights in real property located at 4 Primrose Drive,
       Burlington, NJ 08016;
   2. Movant may join as defendants in said foreclosure action the Debtor and/or any trustee
       appointed in this case, irrespective of whether the Debtor's case converts to any other
       chapter of the Bankruptcy Code;
   3. Movant may pursue any and all loss mitigation options with respect to the Debtor or the
       real property described above, including but not limited to repayment agreement, loan
       modification, short sale or deed-in-lieu of foreclosure;
   4. Movant shall no longer be responsible to serve Notices of Payment Change and/or
       Notices of Post-Petition Fees, Expenses and Charges to the Debtor as required by
       F.R.B.P. 3002.1(b) and (c).
